                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                            CIVIL ACTION NO. 1:22-cv-245

 MARIAN TAYLOR, M.D. and LILLIA                   )
 LAPLACE, M.D.,                                   )
                                                  )
                        Plaintiffs,               )        STIPULATION OF DISMISSAL
                                                  )
 v.                                               )
                                                  )
 MISSION HEALTH COMMUNITY                         )
 MULTISPECIALTY PROVIDERS, LLC,                   )
                                                  )
                        Defendant.                )
                                                  )

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, that

this action is dismissed with prejudice and without costs under Fed. R. Civ. P. 41(a)(1)(A)(ii).

       This the 13th day of February, 2023.


GARDNER SKELTON PLLC                              ROBERTS & STEVENS, PA


/s/ Nicole K. Haynes                              /s/ Phillip Jackson
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      Case 1:22-cv-00245-MR-WCM Document 11 Filed 02/13/23 Page 1 of 1
